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15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN JOSE DIVISION

18    IN RE PERSONAL WEB TECHNOLOGIES,            CASE NO.: 5:18-md-02834-BLF-SVK
      LLC, ET AL., PATENT LITIGATION
19
20    PERSONALWEB TECHNOLOGIES, LLC, a            CASE NO.: 5:18-CV-05619-BLF-SVK
      Texas limited liability company, and
21    LEVEL 3 COMMUNICATIONS, LLC, a              [PROPOSED] ORDER GRANTING
      Delaware limited liability company          PERSONALWEB TECHNOLOGIES,
22                                                LLC’S MOTION TO COMPEL TWITCH
                          Plaintiffs,             INTERACTIVE, INC. TO PROVIDE
23    v.                                          FURTHER SUPPLEMENTAL
                                                  RESPONSES TO REQUESTS FOR
24    TWITCH INTERACTIVE, INC. a Delaware         PRODUCTION OF DOCUMENTS
      corporation,
25                 Defendant.                     Trial Date: March 16, 2020
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     [PROPOSED] ORDER GRANTING MOTION                        CASE NO: 5:18-md-02834-BLF-SVK
     TO COMPEL TWITCH TO PROVIDE RESPONSES                    CASE NO. 5:18-cv-05619-BLF-SVK
     TO REQUEST FOR PRODUCTION OF DOCUMENTS
         Case 5:18-cv-05619-BLF Document 46-4 Filed 08/23/19 Page 2 of 2


 1          Having considered the joint statement on the motion by PersonalWeb Technologies, LLC to

 2 compel Twitch Interactive, Inc. to provide further documents in response to Requests for Production,
 3 IT IS HEREBY ORDERED THAT all relief requested by PersonalWeb Technologies, LLC in the
 4 joint statement is hereby GRANTED, and the Court hereby ORDERS as follows:
 5          Twitch Interactive, Inc. shall supplement its responses to Requests for Production Nos. 7-8,

 6 12-14, 16-17, 26, 28, 33-34, 43, 45, 62, 72, 77-78, 84-86, 89, 93, 98, 110-112, and 115 by producing
 7 all responsive documents reasonably available to Twitch Interactive, Inc. within seven days of this
 8 Order.
 9          IT IS SO ORDERED.

10
11 DATED:
                                                                Honorable Susan van Keulen
12                                                              United States Magistrate Judge

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     [PROPOSED] ORDER GRANTING MOTION                               CASE NO: 5:18-md-02834-BLF-SVK
     TO COMPEL TWITCH TO PROVIDE RESPONSES                           CASE NO. 5:18-cv-05619-BLF-SVK
     TO REQUEST FOR PRODUCTION OF DOCUMENTS
